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                EXHIBIT 65
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                                                                      Defendant's Name: Max Cardin Harris
                                                                      PFN: DSM428
                                                                      CEN:7819388
                                                                      CEPD REPORT #16FRE0833

                                  DECLARATION IN SUPPORT OF PROBABLE CAUSE

    THE UNDERSIGNED HEREBY DECLARES:
    1.    That she ls an INSPECTOR with the Alameda County District Attorney's Office, Oakland, California
    2.    That the contents of this declaration, provides probable cause to believe the above-named defendan~
          committed the following offenses:


          b.) PC 192(b)


   3.     I declare under information and belief that the following is true and correct:

          On December 2nd 2016, a fire took place at a warehouse commonly known as the Ghost Ship, located
  at 1309 31st Avenue. The warehouse was the venue for a music event that night and approximately 100 peoo e
  were in attendance. The fire started on the first floor in the northwest corner of the warehouse at
  approximately 11:20 PM. As a result of the fire, thirty-six (36) individuals died from smoke inhalation. Because
  the building was largely consumed in the fire, the exact cause is classified as undetermined.

                                                                                           st
          Derick Ion Almena was the lease holder for the entire property at 1309 31 Avenue. Almena too
   possession in November 2013. The term of the lease was from November 11, 2013 until November 30, 2018.
   The area where the warehouse was located was zoned for light industrial and its permitted use was as a
  warehouse, according to City of Oakland planning building and fire codes. Neither the terms of the lease nor
  the local statutes permitted the warehouse to be used as a residence. After taking possession, Almena and his
  family moved into the warehouse in violation of the lease, the Oakland Municipal code and the California F re
  Safety code. Almena began to sublet space inside the warehouse, allowing individuals to live inside the
 warehouse. Residents reported paying Almena anywhere from 350 to 1400 dollars a month for hving space
 inside the warehouse.

         Almena allowed and encouraged tenants to use non-conventional building materials that he col ected
 to create their living spaces. These non-conventional building materials included recycled dry wood, such as
 fence boards, shingles, w indow frames, wooden sculpt ures, tapestries, pianos, organs, wooden furniture, RV
trailers, rugs, and other ramshackle pieces. Residents reported that if they put anything in their indlVtdua
living spaces that did not conform to Almena's idea as to how the warehouse should look, he would order it to
be removed. The manner In which these non-conventional building materials were used was a violat on of the
Oak/and M unicipal Code and California Fire Safety c:ode.


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           In 2014, Almena allowed Max Harris to live In the warehouse and made him the "Creative Director."
   Harris collected rent, mediated disputes between residents and acted as an intermediary between Almena and
   the owners of the warehouse. Between 2014 through December 2016, Almena and Harris allowed up to 25
   people at one time to live and work in the warehouse. During this time, neither Almena nor Harris sought a
   variance in the zoning regulations or a permit to change the use of the building from light industrial to hve
   work, in violation of the Oakland Municipal code and the California Fire Safety code.

          From November 2013 until December 2016, Almena advertised the upstairs space inside the warehouse
   as a venue for music events and social gatherings, knowing it was a violation of the City of Oakland Municipal
   code. Often times Almena allowed as many as 100 people to gather inside this unsafe and unpermitted
   warehouse. He advertised the venue for rent on social media and by word of a mouth.

          During the course of Almena and Harris' tenancy, law enforcement officials responded to the
   warehouse for multiple calls for !;ervice. In many of these cases, officers were met outside the warehouse by
  the complaining party. When asked by law enforcement if people lived in the space, Almena and Harris lied to
  law enforcement officers by insisting that no one lived in the warehouse. Almena and Harris' actions of
  allowing people to live in the building effectively changed the occupancy of the building and triggered the need
                                                                         0


  for additional fire safety requirements, as outlined by the Oakland Mu nicipal code and the California State Fire
  code.

         OiKe Almena changed the o ccupancy of the building it became his re!:.ponsibiiity under the California
 Fire Code to install fire suppression systems such as automatic fire sprinklers, smoke alarms, exit signs, marked
 locations for fire extinguishers, and create an evacuation plan. Witnesses state they warned Almena numerous
 times about the obvious fire hazard inside the warehouse. Almena's failure to act is a violation of the Oakland
 Municipal code and the California Fire Safety code.

         During the course of the tenancy, Almena, with the help of Harris, altered the interior of the warehouse
 by building a makeshift bathroom, cutting a doorway into a wall, cutting a hole into the roof and opening a
 previously sealed window in a wall of the adjacent building. These alterations were all done without the permit
 and inspection p;ocess that is designed to insure the safety of people occupying the building and are violations
 of the Oakland Municipal code and California State Fire code.

        Almena was responsible for the construction of an unsafe staircase from the first floor to the second
floor. At the top of the stairs was, what witnesses described as, a ramp or "gang plank" connecting the stairs to
the second floor. Witnesses describe these wooden stairs as dangerous and narrow, only allowing a group of
people to travel up or down the stairs In a single file. The construction of these stairs was uneven in width and
height according to witnesses who travelled them. The construction and the manner in which the stairs were
constructed was a violation of the 0aldand Munfdpal mete and the callfornia Are code.


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         During the course of their possession of the bulldin& Almena and Harris acted knowln&IY and with dlsfeprd
  for the risk when they:
     •      Allowed Individuals to live In the warehouse and deceived the police, fire department and owners about
            that fact;
     •      Allowed large groups to assemble In the warehouse for musical events in the space and on Decembs
            2nd, 2016 they actually blocked one of two points of egress;
     •     Conducted unpermltted and uninspected construction, including electrical work;
     •     Allowed the floor to celling storage of large quantities of highly flammable materials that created a
           deadly and dangerous space;

    Almena's and Harris' actions were reckless, creating a high risk of death. A reasonable person would have
known that acting In that way would create such risk. Their actions were so different from the way an ordinarily
careful person would act in the same situation that their actions amounted to a disregard for human life. Their
reckless actions were the proximate cause of the death of the 36 individuals trapped Inside the warehouse
when the fire started.


          I dedare under penalty of perjury under the laws of the State of California that the foregoing is correct.



Dated: June 5. 2017 at Oakland, California
                                                                 ~k;,~
                                                                Inspector Cristi~arbison, #286
